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                  UNITED STATES DISTRICT COURT
                                                                     JS-6
                  CENTRAL DISTRICT OF CALIFORNIA


LUIS VILLEGAS,                            CASE NO. 2:19-cv-10768-SK
                   Plaintiff,
             v.                           JUDGMENT

EDWARD A. SNOW, in individual
and representative capacity as
trustee of The Snow Family Trust
dated July 8, 2015; KIET T. SNOW,
in individual and representative
capacity as trustee of The Snow
Family Trust dated July 8, 2015;
and DOES 1 through 10, inclusive.
                   Defendants.




      Pursuant to the Court’s Findings of Fact and Conclusions of Law, IT IS
ADJUDGED that judgment is entered in favor of Plaintiff Luis Villegas and
against Defendants Edward A. Snow and Kiet T. Snow. Defendants are
ordered to bring the following architectural barriers at Eddie’s Liquor,
located at 299 E. Artesia Blvd., Long Beach, California, into compliance with
the 2010 Americans with Disabilities Act Standards: (1) the signage
directing disabled patrons to the accessible entrance (if not already done);
the accessible path of travel from the Store to the public sidewalk; (3) the
wheelchair accessible parking space and access aisle; and (4) the clear space
in front of the Store’s entrance.



DATED: November 17, 2021
                                          STEVE KIM
                                          U.S. MAGISTRATE JUDGE
